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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


MICHAEL BAHNMAIER, individually,                      )
and on behalf of all others similarly situated,       )
                                                      )
                               Plaintiffs,            )
                                                      )
                                                      )
v.                                                    )      Case No. 2:20-cv-02246-JAR-TJJ
                                                      )
WICHITA STATE UNIVERSITY,                             )
                                                      )
                               Defendant.             )


        JOINT NOTICE OF SETTLEMENT AND MOTION TO SET DEADLINE
       FOR PLAINTIFF TO FILE MOTION FOR PRELIMINARY APRPROVAL

       Plaintiff Michael Bahnmaier (“Plaintiff”) and Defendant Wichita State University

(“WSU”) jointly notify this Court that the parties have agreed to settle the above-captioned

action and respectfully move this Court for an order setting Plaintiff’s deadline to file his Motion

for Preliminary Approval on December 14, 2020. In support of this request, WSU states as

follows:

       1.      On May 19, 2020, Plaintiff served the University with its Complaint, which,

pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i), made WSU’s’s pleading deadline June 9, 2019.

       2.      On June 2, 2020, WSU filed a motion for extension of time to respond to the

Complaint, requesting a twenty-day extension. [Dkt. No. 9.]

       3.      On June 5, 2020, the Court granted WSU’s motion for extension of time to

respond to the Complaint. [Dkt. No. 11.]
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         4.        On June 25, 2020, WSU filed a motion for extension of time to respond to the

complaint, requesting a thirty-day extension to allow the parties to continue meeting and

conferring on the possibility of an early resolution of this matter. [Dkt. No. 12.]

         5.        On June 26, 2020, the Court granted the extension, making WSU’s responsive

pleading deadline July 29, 2020. [Dkt. No. 13.]

         6.        On July 27, 2020, WSU filed a motion for extension of time to respond to the

complaint, requesting a thirty-day extension to further allow the parties to continuing their

settlement discussions. [Dkt. No. 14.]

         7.        On July 28, 2020, the Court granted the extension, making WSU’s responsive

pleading deadline August 19, 2020. [Dkt. No. 15.]

         8.        On August 19, 2020, WSU filed its Motion to Dismiss Plaintiff’s Complaint.

[Dkt. No. 18.]

         9.        Thereafter, the parties continued to discuss early resolution of the matter and, to

conserve resources while those discussions were ongoing, sought and were granted extensions of

Plaintiff’s deadline to file his Opposition to WSU’s Motion to Dismiss. [See Dkt. Nos. 20 – 23.]

         10.       Plaintiff’s deadline to file his Opposition to WSU’s Motion to Dismiss is

currently November 9, 2020. [Dkt. No. 23.]

         11.       The parties recently reached an agreement on all settlement terms and are

currently in the process of memorializing their agreement.

         12.       The parties believe that forty-five days is sufficient time for them to finalize the

settlement agreement and for Plaintiff to draft and file his Motion for Preliminary Approval.

         WHEREFORE, the parties respectfully request that the Court vacate all currently set

deadlines, including Plaintiff’s November 9, 2020 deadline to file his Opposition to WSU’s




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Motion to Dismiss, and set December 14, 2020 as Plaintiff’s deadline to file his Motion for

Preliminary Approval of the class-action settlement.

                                            Respectfully submitted,

                                            /s/ Martin M. Loring

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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on October 30, 2020, the foregoing document was

filed via the Court’s ECF system, which will cause a true and correct copy of the same to be

served electronically on the following ECF-registered counsel of record.


                                             /s/ Martin M. Loring
                                             Attorney for Defendant Wichita State University




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